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15                            UNITED STATES DISTRICT COURT
16
                         CENTRAL DISTRICT OF CALIFORNIA
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     ATEN INTERNATIONAL CO., LTD,              Case No. 2:15-cv-04424-AJG-AJW
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                 Plaintiff,                    PLAINTIFF’S MOTION IN LIMINE
                                               REGARDING REFERENCE TO
21   vs.                                       UNPRODUCED SOURCE CODE
22
     UNICLASS TECHNOLOGY CO.,
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     LTD., ET AL.,
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                 Defendants.
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1    I.    INTRODUCTION
2          Plaintiff ATEN International Co., Ltd. (“ATEN”) hereby moves in limine to
3    preclude from trial any evidence or argument relating to any source code that
4    Defendants Uniclass Technology Co. Ltd., et al. (“Uniclass”) did not produce
5    during discovery. Admission of such evidence or argument would violate Federal
6    Rules of Civil Procedure 26 and 37. Evidence or argument based on unproduced
7    source code would also pose a threat of unfair prejudice to Plaintiff, making it
8    inadmissible under Federal Rule of Evidence 403.
9    II.   FACTS AND ARGUMENT
10         Pursuant to F.R.C.P. Rules 26 and 37, Defendants should not be permitted to
11   rely on source code that they never produced during discovery. Under F.R.C.P.
12   Rule 26(a), a party is required to disclose all materials that it may use to support its
13   claims or defenses. Fed. R. Civ. P. 26(a). Rule 37(c)(1) is the associated
14   enforcement provision. It “gives teeth to these requirements by forbidding the use
15   at trial of any information required to be disclosed by Rule 26(a) that is not
16   properly disclosed.” Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101,
17   1106 (9th Cir. 2001).
18         During discovery, Uniclass chose not to produce relevant source code.
19   Instead, Uniclass made source code available for inspection, but then refused
20   access late in discovery. (See Dkt. 234-3, Ex. L at 5-7.) Uniclass also made the
21   calculated decision not to produce any code of its own volition. The result is that a
22   limited amount of source code has been produced, and is properly part of the case
23   going forward. Any additional source code, which might have been produced if
24   ATEN were permitted the access it requested, should be excluded.
25         Additionally, unproduced source code should be excluded under F.R.E. Rule
26   403, because its admission would result in unfair prejudice to Plaintiff. Under
27   Rule 403, a court may exclude evidence if “its probative value is substantially
28   outweighed by a danger of one or more of the following: unfair prejudice,

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1    confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
2    presenting cumulative evidence.” Fed. R. Evid. 403. Here, Uniclass chose not to
3    produce much of its source code. Any use now would be unfairly prejudicial
4    because ATEN would not have sufficient opportunity to evaluate the code at this
5    late juncture.
6    III.   CONCLUSION
7           For the reasons set forth above, ATEN’s motion in limine to preclude any
8    evidence or argument relating to source code that was not produced during discovery
9    should be granted.
10

11   Dated: February 27, 2017        DEVLIN LAW FIRM LLC
                                                 /s/
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                                     _____________________________
13                            By:    Michael A. Siem
                                     Attorneys for Plaintiff
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                                     ATEN INTERNATIONAL CO., LTD.
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